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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION
STINGRAY IP SOLUTIONS LLC,                         §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §
                                                         CIVIL ACTION NO. 2:23-cv-003-JRG-RSP
                                                   §
SNAP ONE HOLDINGS CORP. and SNAP                   §
ONE, LLC,                                          §
                                                   §
       Defendants.                                 §

                                    DOCKET CONTROL ORDER

            In accordance with the scheduling conference held in this case, it is hereby ORDERED

 that the following schedule of deadlines is in effect until further order of this Court:

     Date              Event


     September 9,      *Jury Selection – 9:00 a.m. in Marshall, Texas
     2024

     September 2,      *Defendant to disclose final invalidity theories,            final   prior   art
     2024              references/combinations, and final equitable defenses.1


     August 30,        *Plaintiff to disclose final election of Asserted Claims.2
     2024




 1
  The proposed DCO shall include this specific deadline. The deadline shall read, “7 days before
 Jury Selection,” and shall not include a specific date.
 2
  Given the Court’s past experiences with litigants dropping claims and defenses during or on the
 eve of trial, the Court is of the opinion that these additional deadlines are necessary. The proposed
 DCO shall include this specific deadline. The deadline shall read, “10 days before Jury Selection,”
 and shall not include a specific date.
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     Date            Event


     August 12,      * If a juror questionnaire is to be used, an editable (in Microsoft Word
     2024            format) questionnaire shall be jointly submitted to the Deputy Clerk in
                     Charge by this date.3

     August 6, 2024 *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                    before Judge Roy Payne

     July 29, 2024   *Notify Court of Agreements Reached During Meet and Confer

                     The parties are ordered to meet and confer on any outstanding objections or
                     motions in limine. The parties shall advise the Court of any agreements
                     reached no later than 1:00 p.m. three (3) business days before the pretrial
                     conference.



     July 29, 2024   *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint Proposed
                     Verdict Form, Responses to Motions in Limine, Updated Exhibit Lists,
                     Updated Witness Lists, and Updated Deposition Designations


     July 22, 2024   *File Notice of Request for Daily Transcript or Real Time Reporting.

                     If a daily transcript or real time reporting of court proceedings is requested
                     for trial, the party or parties making said request shall file a notice with the
                     Court and e-mail the Court Reporter, Shawn McRoberts, at
                     shawn_mcroberts@txed.uscourts.gov.



     July 15, 2024   File Motions in Limine

                     The parties shall limit their motions in limine to issues that if improperly
                     introduced at trial would be so prejudicial that the Court could not alleviate the
                     prejudice by giving appropriate instructions to the jury.


     July 15, 2024   Serve Objections to Rebuttal Pretrial Disclosures



 3
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
 Advance of Voir Dire.
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     Date            Event


     July 8, 2024    Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                     Disclosures

     June 24, 2024   Serve Pretrial Disclosures (Witness List, Deposition Designations, and
                     Exhibit List) by the Party with the Burden of Proof


     June 17, 2024   *Response to Dispositive Motions (including Daubert Motions). Responses
                     to dispositive motions that were filed prior to the dispositive motion deadline,
                     including Daubert Motions, shall be due in accordance with Local Rule CV-
                     7(e), not to exceed the deadline as set forth in this Docket Control Order.4
                     Motions for Summary Judgment shall comply with Local Rule CV-56.



     June 3, 2024    *File Motions to Strike Expert Testimony (including Daubert Motions)

                     No motion to strike expert testimony (including a Daubert motion) may be
                     filed after this date without leave of the Court.



     June 3, 2024    *File Dispositive Motions

                     No dispositive motion may be filed after this date without leave of the Court.

                     Motions shall comply with Local Rule CV-56 and Local Rule CV-7. Motions
                     to extend page limits will only be granted in exceptional circumstances.
                     Exceptional circumstances require more than agreement among the parties.




     May 31, 2024    Deadline to Complete Expert Discovery

     May 20, 2024    Serve Disclosures for Rebuttal Expert Witnesses


 4
   The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
 oppose a motion in the manner prescribed herein creates a presumption that the party does not
 controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
 If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
 Motions, the deadline for Response to Dispositive Motions controls.
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   Date            Event


  April 22, 2024   Deadline to Complete Fact Discovery and File Motions to Compel Discovery


  April 29, 2024   Serve Disclosures for Expert Witnesses by the Party with the Burden of Proof


  April 16, 2024   Comply with P.R. 3-7 (Opinion of Counsel Defenses)

  March 26,        *Claim Construction Hearing – 9:00 a.m. in Marshall, Texas before Judge
  2024             Roy Payne

  March 12,        *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)
  2024

  March 5, 2024    *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)


  February 27,     Comply     with   P.R.   4-5(b)   (Responsive     Claim Construction Brief)
  2024

  February 13,     Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and Submit
  2024             Technical Tutorials (if any)

                   Good cause must be shown to submit technical tutorials after the deadline to
                   comply with P.R. 4-5(a).

  February 13,     Deadline to Substantially Complete Document Production and Exchange
  2024             Privilege Logs

                   Counsel are expected to make good faith efforts to produce all required
                   documents as soon as they are available and not wait until the substantial
                   completion deadline.


  January 30,      Comply with P.R. 4-4 (Deadline to Complete Claim Construction Discovery)
  2024

  January 23,      File Response to Amended Pleadings
  2024
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     Date             Event


     January 9,       *File Amended Pleadings
     2024
                      It is not necessary to seek leave of Court to amend pleadings prior to this
                      deadline unless the amendment seeks to assert additional patents.

     January 16,      Comply with P.R. 4-3 (Joint Claim Construction Statement)
     2024

     December 12,     Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)
     2023

     November 21,     Comply with P.R. 4-1 (Exchange Proposed Claim Terms)
     2023

     May 2, 2023      Comply with Standing Order Regarding Subject-Matter Eligibility
                      Contentions5

     May 2, 2023      Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

     April 4, 2023    *File Proposed Protective Order and Comply with Paragraphs 1 & 3 of the
                      Discovery Order (Initial and Additional Disclosures)

                      The Proposed Protective Order shall be filed as a separate motion with the
                      caption indicating whether or not the proposed order is opposed in any part.



     March 28,        *File Proposed Docket Control Order and Proposed Discovery Order
     2023
                      The Proposed Docket Control Order and Proposed Discovery Order shall be
                      filed as separate motions with the caption indicating whether or not the
                      proposed order is opposed in any part.


     April 13, 2023   Join Additional Parties




 5
  http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20
 Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf             [https://perma.cc/RQN2-
 YU5P]
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   Date              Event


  February 28,       Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
  2023
 (*) indicates a deadline that cannot be changed without an acceptable showing of good
 cause. Good cause is not shown merely by indicating that the parties agree that the
 deadline should be changed.

                                ADDITIONAL REQUIREMENTS

         Mediation: While certain cases may benefit from mediation, such may not be appropriate
 for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
 benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
 ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
 mediation within fourteen days of the issuance of the Court’s claim construction order. As a
 part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
 mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
 the Parties should set forth a brief statement of their competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
 the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
 business days after briefing has completed. For expert-related motions, complete digital copies of
 the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
 to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
 than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
 “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
 pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
 changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
 an Order granting leave to designate different lead counsel. The true lead counsel should be
 designated early and should not expect to parachute in as lead once the case has been largely
 developed.

          Motions for Continuance: The following will not warrant a continuance nor justify a
 failure to comply with the discovery deadline:

 (a)      The fact that there are motions for summary judgment or motions to dismiss pending;
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 (b)     The fact that one or more of the attorneys is set for trial in another court on the same day,
         unless the other setting was made prior to the date of this order or was made as a special
         provision for the parties in the other case;

 (c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that it
         was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the remaining
 deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
 version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”

          Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
  the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
  shall also specify the nature of each theory of infringement, including under which subsections of
. 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
  infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
  theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
  written description, enablement, or any other basis for invalidity. The Defendant shall also specify
  each prior art reference or combination of references upon which the Defendant shall rely at trial,
  with respect to each theory of invalidity. The contentions of the Parties may not be amended,
  supplemented, or dropped without leave of the Court based upon a showing of good cause. The
  Parties in a case which has been consolidated for pre-trial purposes and which is moving towards
  a separate trial on the merits (subsequent to pre-trial) shall file, as an exhibit to the parties’ Joint
  Pretrial Order, a list identifying all docket entries from the lead case that relate to the applicable
  member case.

         Trial: All parties must appear in person at trial. All non-individual (including but not
 limited to corporate) parties must appear at trial through the presence in person of a designated
 representative. Once they have appeared, any representative of a non-individual party shall not be
 replaced or substituted
        SIGNED           without
                   this 3rd      express
                            day of       leave
                                   January,    of Court.
                                             2012.
        SIGNED this 30th day of March, 2023.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
